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                                                                    2/15/2019 10:10 AM
                                                                            Delia Sellers
                                                                            District Clerk
                             CV1813709                                Liberty County, TX
                                                                         Destiny Hinton




                                          253rd




                                  EXHIBIT 3
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 Service of said Defendant as described above can be effected by certified mail, return receipt

 requested.

                                   JURISDICTION AND VENUE

 5.      Venue and jurisdiction are proper in the Court in which this suit was originally filed by

         virtue of Section 15.011 of the Texas Civil Practice and Remedies Code because this

         action involves real property as provided by said Section, and Liberty County is where all

         or part of the real property is located.

                                                    FACTS

6.      On or about March 25 , 2017, Defendant issued to Plaintiff an insurance policy, No.

        PIC 14491.    Among other things the policy provided in part that Defendant would

        indemnify Plaintiff for any harm caused to Plaintiffs property located at 17702 Hwy 146

        N. , Liberty, Texas 77575.

7.      On August 28, 2017, while the policy was in full force and effect, Plaintiff suffered the

        following loss to the property due to hurricane Harvey: extensive exterior and interior

        damage, including the roof. The amount of the damage caused by hurricane Harvey is

        $56,629.89.

8.      On or about August 28, 2017, Plaintiff notified Defendant of the damage to Plaintiffs

        property and demanded Defendant to indemnify them for the damage to the property,

        pursuant to the indemnity provisions of the policy.     Defendant, acted in bad faith in

        adjusting Plaintiffs claim when they inspected the property to estimate the damage, and

        subsequently, failed to adequately indemnify the Plaintiff for the entire scope of the

        damage based on the adjustment.




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9.      As a result of the Defendant's bad faith actions and failure to deal fairly with the Plaintiff

        and adequately indemnify the Plaintiff for the loss, Plaintiff were deprived of $56,629.89

        due under the policy, could not completely repair the property, and lost the use and

        enjoyment of the property due to not having adequate funds to repair the damaged

        property.

10.     Plaintiff was forced to hire an attorney to demand payment from the Defendant for the

        damage to the property created by a covered peril in the policy. Plaintiff sent Defendant a

        demand for payment in the amount of $56,629.89 minus deductibles and for immediate

        payment for hurricane Harvey damage to the property. Defendant has failed to attempt in

        good faith to deal fairly with Plaintiff to effectuate a prompt, fair, and equitable settlement

        of the claim when the Defendant's liability, under the policy, has become reasonably clear.

11.     Defendant has not indemnified Plaintiff for the loss more than eleven months after the loss

        occurred. Defendant's delay in paying Plaintiffs claim breached their duty of good faith

        and fair dealing, under the policy, since Defendant has no reasonable cause for the delay

        and knew or should have known it had no reasonable cause. Under these circumstances, a

        person or insurance company of ordinary care and prudence would not have delayed

        payment of the claim for three months.        Based on Plaintiffs status as its holder and

        beneficiary, under the policy, Defendant owed Plaintiff a duty of good faith and fair

        dealing.

12.     Based on the acts described in this Complaint, Defendant knew that they would cause

        financial and emotional injury to Plaintiff, carried out their adjustment of Plaintiffs claim

        with a conscious disregard of their right to the proceeds of the policy and subjected the

        Plaintiff to cruel and unjust hardship in conscious disregard to the Plaintiffs right to the
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        proceeds of the policy.

                                    FIRST CAUSE OF ACTION

                                    (BREACH OF CONTRACT)

        As a cause of action against Defendant, Plaintiff further alleges as follows:

I3      Plaintiff adopts and incorporates by reference herein paragraphs 1 thru 11 of the Petition

        as set forth in full.

I 4.    Plaintiff paid all premiums due under the policy and performed all other conditions the

        policy required them to perform.

I 5.    Defendant's expressed and/or implied representation to act in good faith and thoroughly

        investigate and process any claims Plaintiff may make on the policy of insurance with

        Defendant was material to the formation of the contract of insurance with Defendant.

16.     Defendant is in breach of said contract of insurance and, as a result, Plaintiff has incurred

        monetary damages as aforesaid and Defendant is therefore liable for all damages suffered

        by Plaintiff.

                        Therefore, Plaintiff seeks judgment as prayed for below.

                                   SECOND CAUSE OF ACTION

               (BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING)

                As a cause of action against Defendant, Plaintiff further alleges as follows :

17.     Plaintiff adopts and incorporates by reference herein paragraphs 1 thru 11 of the Petition

        as set forth in full.

I 8.    Additionally, and/or alternatively, without waiving the above and foregoing, Plaintiff

        would show that in adjusting Plaintiffs claim Defendant acted unreasonably in delaying

        payment of Plaintiffs claim in the following respects :        Defendant has not yet paid
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      Plaintiff's claim eleven months after the loss and after Plaintiff notified Defendant of the

      demand for the estimated damage.

19.    Defendant's delay in paying Plaintiff's damage breached its duty of good faith and fair

      dealing, since it had no reasonable cause for the delay and knew or should have known it

      had no reasonable cause. Under these circumstances, a person of ordinary care and

      prudence would not have delayed payment of the claim for over four months.

20.   Under the policy and based on Defendant's status as its holder and beneficiary, Defendant

      owed Plaintiff a duty of good faith and fair dealing in adjusting and paying Plaintiffs

      claim for fire damage.

21.   All conditions precedent to Plaintiffs recovery under the policy have been performed.

22.   As a result of Defendant's breach of the policy, Plaintiffs have suffered damages as

      alleged herein.

                     Therefore Plaintiff seeks judgment as prayed for below.

                                  THIRD CAUSE OF ACTION

                              (DECEPTIVE TRADE PRACTICES ACT)

              As a cause of action against Defendant, Plaintiff further allege as follows:

23.   Plaintiff adopts and incorporates by reference herein paragraphs 1 thru 11 of the Petition

      as set forth in full.

24.   Additionally, and/or alternatively, without waiving the above and foregoing, Plaintiff

      would show that Plaintiff is consumers as that term is defined by the Texas Deceptive

      Trade Practices-Consumer Protection Act ("DTP A") in that Plaintiff sought and/or

      acquired by purchase and/or lease goods and/or services from Defendant.
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25.   Plaintiff would further show that their assets do not exceed Twenty-Five Million Dollars

      ($25 ,000,000.00) as required for them to be protected by the DTPA.

26.   Plaintiff would further show that they made written demand for resolution of the claims

      set fo1ih herein, and that said written demand satisfies the requirements of the DTP A.

27.   Plaintiff would further show that Defendant's actions, as more fully set forth above,

      constitute violations of Sections l 7.50(a)(l), (3), and (4) of the DTPA. Specifically,

      Defendant breached the express terms of the insurance policy governing Plaintiffs claims

      and violated Chapter 541 of the Texas Insurance Code by failing to investigate the basis

      of said claims and pay benefits as set forth in the factual background above. Further,

      Plaintiff would show that the above-described conduct further constitutes false,

      misleading and deceptive acts and practices in violation of Sections l 7.46(b)(5) and (12)

      of the DTPA.

28.   Defendant committed the aforementioned acts knowingly and/or intentionally entitling

      Plaintiffs to additional damages under the DTPA. Further, Plaintiff relied on Defendant's

      representations.

29.   Defendant's acts were a producing cause of Plaintiffs damages.

30.   As a result of Defendant's breach of the policy, Plaintiff has suffered damages as alleged

      herein.

                   Therefore Plaintiff seeks judgment as prayed for below.

                              FOURTH CAUSE OF ACTION

                               (TEXAS INSURANCE CODE)

      As a cause of action against Defendant, Plaintiff further alleges as follows:

31.   Plaintiff adopts and incorporates by reference herein paragraphs 1 thru 11 of the Petition
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        as set forth in full.

32.    Additionally, and/or alternatively, without waivmg the above and foregoing, Plaintiff

       would show that Defendant violated Texas Insurance Code, Section 541.151 (1 ),

       541.060(a)(l), (2)(A), (3), and (7), Section 541.061 , and Section 541.151(2) by engaging

       in an unfair and deceptive course of conduct by failing to attempt in good faith to

       effectuate a prompt, fair, and equitable settlement when liability had become reasonably

       clear, failing to investigate the basis of said claims and pay benefits as set forth in the

       factual background above, misrepresenting to a claimant a material fact of policy

       provision relating to coverage, and failing to provide promptly to Plaintiff a reasonable

       explanation of the factual and legal basis in the policy for its denial of policy proceeds and

       its withholding of depreciation, which precluded Plaintiff from receiving timely benefits.

       Specifically, Plaintiff asserts that Defendant failed to promptly pay the amount of loss

       determined by its adjuster as required by the terms and conditions of the insurance policy,

       and further that Defendant withheld payments for depreciation, all of the foregoing

       without conducting a reasonable investigation prior to denying said benefits.

33.    Plaintiff would further show that they have made written demand for resolution of the

       claims set forth herein, and that said written demand satisfies the requirements of the

       Insurance Code.

34.    Defendant committed the aforementioned acts knowingly and/or intentionally entitling

       Plaintiff to additional damages under the Texas Insurance Code. Further, Plaintiff relied

       on Defendant's representations.

3 5.   Defendant's acts were a producing cause of Plaintiffs damages.
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36.    As a result of Defendant's breach of the policy, Plaintiff has suffered damages as alleged

       herein.

                       Therefore Plaintiff seeks judgment as prayed for below.

                                      PRAYER FOR RELIEF

3 7.   As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiff,

       were caused to suffer the following damages:

                                       Plaintiffs pray for judgment as follows:

                 A.     First Cause of Action (Breach of Contract)

       On Plaintiffs first cause of action Plaintiff pray for damages against Defendant:

       1.        For $56,629.89 in policy proceeds for actual damages ;

       2         For emotional distress;

       3.        For attorney' s fees and costs according to proof;

       4.        For such other relief as the Court may deem just.

                 B.     Second Cause of Action (Breach of Duty of Good Faith and Fair

                        Dealing)

       On Plaintiffs second cause of action Plaintiff pray for damages against Defendant:

       1.        For $56,629.89 in policy proceeds for actual damages ;

       2.        For emotional distress;

       3.        For punitive damages;

       4.        For attorney's fees and costs according to proof;

       5.        For such other relief as the Court may deem just.

       6.        Eighteen (18%) percent interest for prejudgment interest.
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               C.      Third Cause of Action (Deceptive Trade Practices Act)

       On Plaintiffs third cause of action Plaintiff pray for damages against Defendant:

        1.     For $56,629.89 in policy proceeds for actual damages;

       2.      For emotional distress;
                        .J

       3.      For punitive damages;

       4.      For attorney's fees and costs according to proof;

       5.      For such other relief as the Court may deem just.

       6.      Eighteen (18%) percent interest for prejudgment interest.



               D.      Fourth Cause of Action (Texas Insurance Code)

       On Plaintiffs fourth cause of action Plaintiff pray for damages against Defendant:

        l.     For $56,629.89 in policy proceeds for actual damages;

       2.      For emotional distress;

       3.      For punitive damages;

       4.      For attorney's fees and costs according to proof;

       5.      For such other relief as the Court may deem just.

       6.      Eighteen (18%) percent interest for prejudgment interest.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Dave Turner, respectfully pray

that the Defendant be cited to appear and answer herein, and that upon a final hearing of the

cause, judgment be entered for the Plaintiff against Defendant for damages in an amount within

the jurisdictional limits of the Court; together with pre-judgment interest at the maximum rate

allowed by law; post-judgment interest at the legal rate, costs of court; and such other and further

relief to which the Plaintiffs may be entitled at law or in equity.
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                                  Respectfully submitted,




                                  By    :!fh,A~~
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              PLAINTIFFS HEREBY DEMANDS TRIAL BY JURY
